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January 3, 2023



BY ECF

U.S. District Court – E.D.N.Y.
225 Cadman Plaza East
Brooklyn, NY 11201
Attn: Honorable Magistrate Judge Roanne L. Mann


Re:          Ugwudiobi et al v. International Trendz, LLC d/b/a Presidential Security Co.
(22CV4930) (PKC) (RLM)


Dear Judge Mann:

Please be advised that I am the attorney for the Plaintiffs in the above referenced proceeding. I
write to provide the Court with a status report as directed in Your December 27, 2022 Order. The
delay in this matter was caused by a temporary inability to contact my clients, which has now
been resolved. Plaintiffs plan to move to enter a default judgment against the corporate
Defendant on or before January 13, 2023.


Thank You for Your time and consideration. Kindly direct any questions to the undersigned.



Respectfully yours,

/s/

David C. Wims, Esq. (DW-6964)




Cc: Honorable Pamela K. Chen (By ECF)
